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 6 Shivon Zilis, and X.AI Corp.
 7
     (Additional counsel listed on the next page)
 8
 9                                 UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11                                        OAKLAND DIVISION

12 ELON MUSK et al.,                                     Case No. 4:24-cv-04722-YGR
                    Plaintiffs,                          JOINT STIPULATION AND
13
                                                         [PROPOSED] ORDER CONTINUING
14          v.                                           CASE MANAGEMENT CONFERENCE
                                                         AND REMAINING BRIEFING
15 SAMUEL ALTMAN, et al.,                                DEADLINES ON DEFENDANTS’
                                                         MOTIONS TO DISMISS
16                  Defendants.

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      JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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16   OpenAI Holdings, LLC, OpenAI Startup Fund Management, LLC,
     OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P.,
17   OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup Fund SPV GP II, L.L.C.,
18   OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV, L.L.C.,
     OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P.,
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      JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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   Reid Hoffman, and Deannah Templeton
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     JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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 1          Plaintiffs Elon Musk, Shivon Zilis, and X.AI Corp. (collectively, the “Plaintiffs”);
 2 Defendants Samuel Altman, Gregory Brockman, OpenAI, Inc., OpenAI L.P., OpenAI, L.L.C.,
 3 OpenAI GP, L.L.C., OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, LLC, OpenAI
 4 Holdings, LLC, OpenAI Startup Fund Management, LLC, OpenAI Startup Fund GP I, L.L.C.,
 5 OpenAI Startup Fund I, L.P., OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup Fund SPV
 6 GP II, L.L.C., OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV,
 7 L.L.C., OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P., OpenAI Startup
 8 Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P., Aestas Management Company, LLC, and
 9 Aestas LLC (collectively, the “OpenAI Defendants”); Defendants Deannah Templeton, Reid
10 Hoffman, and Microsoft Corporation (collectively, the “Microsoft Defendants”; together with the

11 “OpenAI Defendants,” the “Defendants”; and together with Plaintiffs and the OpenAI Defendants,
12 the “Parties”), by and through their counsel, hereby stipulate as follows:
13          WHEREAS, the Court issued an Order on March 4, 2025, denying Plaintiffs’ Motion for
14 Preliminary Injunction;
15          WHEREAS, the Court’s Order directed the parties to meet and confer concerning its offer
16 to expedite trial on certain claims and to file a Joint Case Management Statement concerning the
17 same by March 14, 2025;
18          WHEREAS, Plaintiffs’ oppositions to Defendants’ Motions to Dismiss are presently due
19 March 17, 2025 and Defendants’ reply briefs are due April 18, 2025;
20          WHEREAS, the Case Management Conference is presently set for March 21, 2025;
21          WHEREAS, the parties have been diligently working to prioritize the Joint Case
22 Management Statement to be filed by March 14, and given scheduling conflicts in other matters
23 that have arisen for counsel on both sides;
24          IT IS HEREBY STIPULATED AND AGREED, SUBJECT TO COURT APPROVAL, by
25 Plaintiffs, the OpenAI Defendants, and the Microsoft Defendants that:
26          1. The Case Management Conference set for March 21, 2025 be continued to:
27                 a. April 4, 2025 to be held in-person or by video conference at the Court’s
28                     discretion and at time set by the Court; or
                                                       4
      JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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 1                 b. March 28, April 1, or April 3, 2025 at 8:00 a.m. to be held as a video
 2                     conference at a time set by the Court.
 3          2. The remaining briefing schedule on the pending Motions to Dismiss filed by the
 4              Defendants be modified so that Plaintiffs’ opposition briefs are due March 24, 2025,
 5              and Defendants’ replies are due May 2, 2025.
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 7
     Dated: March 12, 2025                                   TOBEROFF & ASSOCIATES, P.C.
 8
 9
                                                   By:       s/ Marc Toberoff
10                                                           Marc Toberoff (CA SBN 188547)
11
                                                             Attorneys for Plaintiffs Elon Musk, Shivon
12                                                           Zilis, and X.AI Corp.

13 Dated: March 12, 2025                                     MORRISON & FOERSTER LLP
14
15                                                 By:       s/ Jordan Eth
                                                             Jordan Eth (CA SBN 121617)
16
                                                             Attorneys for Defendants Samuel Altman,
17                                                           Gregory Brockman, OpenAI, Inc., OpenAI
                                                             L.P., OpenAI, L.L.C., OpenAI GP, L.L.C.,
18                                                           OpenAI OpCo, LLC, OpenAI Global, LLC,
19                                                           OAI Corporation, LLC, OpenAI Holdings,
                                                             LLC, OpenAI Startup Fund Management,
20                                                           LLC, OpenAI Startup Fund GP I, L.L.C.,
                                                             OpenAI Startup Fund I, L.P., OpenAI Startup
21                                                           Fund SPV GP I, L.L.C., OpenAI Startup Fund
                                                             SPV GP II, L.L.C., OpenAI Startup Fund SPV
22                                                           GP III, L.L.C., OpenAI Startup Fund SPV GP
23                                                           IV, L.L.C., OpenAI Startup Fund SPV I, L.P.,
                                                             OpenAI Startup Fund SPV II, L.P., OpenAI
24                                                           Startup Fund SPV III, L.P., OpenAI Startup
                                                             Fund SPV IV, L.P., Aestas Management
25                                                           Company, LLC, and Aestas LLC
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      JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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 1 Dated: March 12, 2025                                    DECHERT LLP
 2
                                                  By:       s/ Russell P. Cohen
 3                                                          Russell P. Cohen (SBN 213105)
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 5                                                          Attorneys for Defendants Microsoft
                                                            Corporation, Reid Hoffman, and Deannah
 6                                                          Templeton
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     JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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 1                                    SIGNATURE ATTESTATION
 2          I hereby attest that signatories listed above, on whose behalf this stipulation is submitted,
 3 concur in the filing’s content and have authorized the filing.
 4
 5 Dated: March 12, 2025                                   s/ Marc Toberoff
                                                            Marc Toberoff (CA SBN 188547)
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      JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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 1                                        [PROPOSED] ORDER
 2          GOOD CAUSE APPEARING, the Court hereby approves the foregoing stipulation and
 3 ORDERS that:
 4          1. The Case Management Conference set for March 21, 2025 be continued to:
 5                 ☐ April 4, 2025 at ____ a.m. to be held as in-person or by video conference; or
 6                 ☐ March 28, April 1, or April 3, 2025 at 8:00 a.m. to be held as a video
 7                     conference.
 8          2. The remaining briefing schedule on the pending Motions to Dismiss filed by the
 9              OpenAI and Microsoft Defendants be extended so that Plaintiffs’ Oppositions are due
10              March 24, 2025, and Defendants’ Replies are due May 2, 2025.

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     Dated: ________________________               _________________________________________
13                                                       The Hon. Yvonne Gonzalez Rogers
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      JOINT STIP. AND [PROPOSED] ORDER CONTINUING JOINT CASE MGMT. CONF. & MOT. TO DISMISS BRIEFING SCHED.
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